                      Case 4:19-cv-06669-JST Document 53 Filed 06/10/20 Page 1 of 31


            1    MARCELLUS MCRAE, SBN 140308
                  mmcrae@gibsondunn.com
            2    GIBSON, DUNN & CRUTCHER LLP
                 333 South Grand Avenue
            3    Los Angeles, CA 90071-3197
                 Telephone:    213.229.7000
            4    Facsimile:    213.229.7520
            5    ASHLEY E. JOHNSON, admitted pro hac vice
                  ajohnson@gibsondunn.com
            6    GIBSON, DUNN & CRUTCHER LLP
                 2001 Ross Avenue
            7    Dallas, TX 75201
                 Telephone: 214.698.3100
            8    Facsimile: 214.571.2949
            9    Attorneys for Defendant AT&T MOBILITY LLC
           10                               UNITED STATES DISTRICT COURT

           11                            NORTHERN DISTRICT OF CALIFORNIA

           12                                    OAKLAND DIVISION

           13    ROBERT ROSS,                                CASE NO. 4:19-CV-06669 (JST)
           14                      Plaintiff,                DEFENDANT AT&T MOBILITY LLC’S
                                                             ANSWER TO PLAINTIFF’S COMPLAINT
           15          v.
           16    AT&T MOBILITY LLC,
           17                      Defendant.
           18

           19

           20

           21

           22

           23

           24

           25

           26

           27

           28

Gibson, Dunn &
Crutcher LLP
                            DEFENDANT AT&T MOBILITY LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
                                             CASE NO. 4:19-CV-06669 (JST)
                       Case 4:19-cv-06669-JST Document 53 Filed 06/10/20 Page 2 of 31


            1           Defendant AT&T Mobility LLC (“AT&T”) hereby answers Robert Ross’s (“Mr. Ross” or
            2    “Plaintiff”) Complaint. Any allegation not explicitly admitted is denied. AT&T does not, by noting
            3    or admitting that the Complaint purports to characterize or quote particular documents, admit the truth
            4    of any assertion in the referenced document. Moreover, headings and footnotes contained within the
            5    Complaint are not substantive allegations to which an answer is required. To the extent headings are
            6    substantive allegations to which an answer is required, AT&T denies the allegations. To the extent
            7    footnotes in the Complaint are deemed to be substantive allegations, then the response to the paragraph
            8    in which the footnote is found is AT&T’s response to the footnote as well. In answer to the Complaint,
            9    AT&T states as follows:
           10                         I. Response to Allegations Styled “Nature of the Action”
           11           1.       AT&T denies the allegations in Paragraph 1 of the Complaint.
           12           2.       AT&T admits that it is a leading telecommunications provider in the United States.
           13    Except as expressly admitted, AT&T denies the allegations in Paragraph 2 of the Complaint.
           14           3.       AT&T admits that federal and state laws and regulations govern its conduct. Those
           15    laws and regulations speak for themselves. Except as expressly admitted, AT&T denies the allegations
           16    in Paragraph 3 of the Complaint.
           17           4.       AT&T admits that it has a Privacy Policy and that Paragraph 4 of the Complaint
           18    purports to quote and characterize that policy. That policy speaks for itself. AT&T denies the
           19    remaining allegations in Paragraph 4 of the Complaint.
           20           5.       AT&T denies the allegations in Paragraph 5 of the Complaint.
           21           6.       AT&T denies the allegations in Paragraph 6 of the Complaint.
           22           7.       AT&T lacks knowledge or information sufficient to determine the truth of the
           23    allegations in Paragraph 7 of the Complaint regarding Mr. Ross’s motivations for bringing this action,
           24    and on that basis denies the same. AT&T denies the remaining allegations in Paragraph 7 of the
           25    Complaint.
           26                              II. Response to Allegations Styled “The Parties”
           27           8.       AT&T lacks knowledge or information sufficient to determine the truth of the
           28    allegations in Paragraph 8 of the Complaint, and on that basis denies the same.

Gibson, Dunn &                                                     2
Crutcher LLP
                               DEFENDANT AT&T MOBILITY LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                CASE NO. 4:19-CV-06669 (JST)
                       Case 4:19-cv-06669-JST Document 53 Filed 06/10/20 Page 3 of 31


            1           9.          AT&T admits that Mr. Ross has been an AT&T mobile customer since at least 2007.
            2    AT&T lacks knowledge or information sufficient to determine the truth of the remaining allegations in
            3    Paragraph 9 of the Complaint, and on that basis denies the same.
            4           10.         AT&T admits that it is a Delaware limited liability corporation with its principal office
            5    or place of business in Brookhaven, Georgia. AT&T denies that the web address in footnote 1 contains
            6    the information alleged in Paragraph 10 of the Complaint. AT&T admits that AT&T Inc.’s Form 10-
            7    K    for     the      fiscal    year     ended     December       2018,     which     is    available     at
            8    https://www.sec.gov/Archives/edgar/data/732717/000119312519045608/d705958d10k.htm, includes
            9    the language quoted in Paragraph 10. AT&T admits that page 4 of this Form 10-K also states that “At
           10    December 31, 2018, we served 153 million Mobility subscribers.” This document speaks for itself.
           11    AT&T further admits that AT&T Inc. reported segment operating revenues for Mobility in 2017 and
           12    2018 that were above $71 billion. AT&T admits that it is a leading telecommunications provider in
           13    the United States. Except as expressly admitted, AT&T denies the allegations in Paragraph 10 of the
           14    Complaint.
           15           11.         AT&T admits that it provides wireless service to subscribers in the United States. The
           16    remaining allegations of Paragraph 11 contain legal conclusions that require no answer. To the extent
           17    that an answer is required, AT&T notes that the FCA and related regulations speak for themselves, and
           18    denies any characterization or description that is inconsistent therewith. Except as expressly admitted,
           19    AT&T denies the allegations in Paragraph 11 of the Complaint.
           20           12.         AT&T notes that Paragraph 12 of the Complaint purports to characterize and quote
           21    from AT&T Inc.’s 2018 Annual Report. That Annual Report speaks for itself. AT&T admits that it is
           22    an indirect wholly-owned subsidiary of AT&T Inc. AT&T denies any remaining allegations in
           23    Paragraph 12 of the Complaint.
           24                         III. Response to Allegations Styled “Jurisdiction and Venue”
           25           13.         The allegations in Paragraph 13 of the Complaint contain legal conclusions that require
           26    no answer. To the extent that an answer is required, AT&T admits for purposes of this action only that
           27    the Court has subject matter jurisdiction over this action. Except as expressly admitted, AT&T denies
           28    the allegations in Paragraph 13 of the Complaint.

Gibson, Dunn &                                                         3
Crutcher LLP
                               DEFENDANT AT&T MOBILITY LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                CASE NO. 4:19-CV-06669 (JST)
                       Case 4:19-cv-06669-JST Document 53 Filed 06/10/20 Page 4 of 31


            1           14.      The allegations in Paragraph 14 of the Complaint contain legal conclusions that require
            2    no answer. To the extent that an answer is required, AT&T admits for purposes of this action only that
            3    the Court has personal jurisdiction over AT&T. Except as expressly admitted, AT&T denies the
            4    allegations in Paragraph 14 of the Complaint.
            5           15.      The allegations in Paragraph 15 of the Complaint contain legal conclusions that require
            6    no answer. To the extent that an answer is required, AT&T admits for purposes of this action only that
            7    venue is appropriate in this district. Except as expressly admitted, AT&T denies the allegations in
            8    Paragraph 15 of the Complaint.
            9                 IV. Response to Allegations Styled “Allegations Applicable to All Counts”
           10           16.      The allegations in Paragraph 16 of the Complaint are too vague for AT&T to form a
           11    belief as to the truth of the allegations and, on that basis, AT&T denies them.
           12           17.      AT&T lacks knowledge or information sufficient to form a belief regarding the truth
           13    of the allegations of the third sentence of Paragraph 17 regarding the actions of criminal hackers and
           14    on that basis denies the same. AT&T denies the remaining allegations in Paragraph 17 of the
           15    Complaint.
           16           18.      AT&T admits that effecting a SIM change without authorization can be referred to as
           17    SIM swapping. AT&T denies the remaining allegations in Paragraph 18 of the Complaint.
           18    A.     Response to Allegations Styled “SIM Swapping is a Type of Identity Theft Involving the
                        Transfer of a Mobile Phone Number”
           19
                        19.      AT&T admits that a SIM change took place on Mr. Ross’s account on October 26,
           20
                 2018. AT&T lacks knowledge or information sufficient to determine the truth of the remaining
           21
                 allegations in Paragraph 19 of the Complaint, and on that basis denies the same.
           22
                        20.      AT&T admits that effecting a SIM change without authorization can be referred to as
           23
                 “SIM swapping.” Except as expressly admitted, AT&T denies the allegations in Paragraph 20 of the
           24
                 Complaint.
           25
                        21.      AT&T admits that most newer model cell phones do contain a SIM card. AT&T
           26
                 further admits that cell phones that require a SIM card, and that do not have a SIM card, will likely not
           27
                 allow for calls or text messages over a carrier network. AT&T further admits that an international
           28

Gibson, Dunn &                                                      4
Crutcher LLP
                                DEFENDANT AT&T MOBILITY LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                 CASE NO. 4:19-CV-06669 (JST)
                       Case 4:19-cv-06669-JST Document 53 Filed 06/10/20 Page 5 of 31


            1    mobile equipment identity number (“IMEI”) can be used to identify a specific mobile device. Except
            2    as expressly admitted, AT&T denies the allegations in Paragraph 21 of the Complaint.
            3           22.      AT&T admits that SIM changes occur in the regular course of business pursuant to its
            4    subscribers’ requests, and allow a subscriber to transfer their service to a new or different mobile
            5    device. AT&T further admits that a subscriber may visit a retail store or call AT&T customer support
            6    to request a SIM change. Except as expressly admitted, AT&T denies the allegations in Paragraph 22
            7    of the Complaint.
            8           23.      AT&T admits that effecting a SIM change without authorization can be referred to as
            9    a SIM swap. AT&T lacks sufficient information to form a belief as to the truth of the remaining
           10    allegations in Paragraph 23, which refer to SIM changes and criminal hacking conduct in general and
           11    without reference to a specific incident, and on that basis denies the same. Except as expressly admitted,
           12    AT&T denies the allegations in Paragraph 23 of the Complaint.
           13           24.      AT&T admits that two-factor authentication requires a person to verify their
           14    identification through two means, and that one method to authenticate may occur at a person’s request
           15    through text messaging. AT&T lacks sufficient information to form a belief as to the truth of the
           16    remaining allegations in Paragraph 24, which refer to SIM changes and criminal hacking conduct in
           17    general and without reference to a specific incident, and on that basis denies the same. Except as
           18    expressly admitted, AT&T denies the allegations in Paragraph 24 of the Complaint.
           19           25.      AT&T denies the allegations in Paragraph 25 of the Complaint.
           20           26.      AT&T denies the allegations in Paragraph 26 of the Complaint.
           21           27.      AT&T denies the allegations in Paragraph 27 of the Complaint.
           22    B.     Response to Allegations Styled “AT&T Allowed Unauthorized Access to Mr. Ross’
                        AT&T Account”
           23
                        28.      AT&T denies the allegations in Paragraph 28 of the Complaint.
           24
                        29.      AT&T lacks knowledge or information sufficient to determine the truth of the
           25
                 allegations in Paragraph 29 of the Complaint, and on that basis denies the same.
           26
                        30.      AT&T lacks knowledge or information sufficient to determine the truth of the
           27
                 allegations in Paragraph 30 of the Complaint, and on that basis denies the same.
           28

Gibson, Dunn &                                                      5
Crutcher LLP
                               DEFENDANT AT&T MOBILITY LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                CASE NO. 4:19-CV-06669 (JST)
                       Case 4:19-cv-06669-JST Document 53 Filed 06/10/20 Page 6 of 31


            1           31.      AT&T lacks knowledge or information sufficient to determine the truth of the
            2    allegations in Paragraph 31 of the Complaint, and on that basis denies the same.
            3           32.      AT&T lacks knowledge or information sufficient to determine the truth of the
            4    allegations in Paragraph 32 of the Complaint, and on that basis denies the same.
            5           33.      AT&T lacks knowledge or information sufficient to determine the truth of the
            6    allegations in Paragraph 33 of the Complaint, and on that basis denies the same.
            7           34.      AT&T lacks knowledge or information sufficient to determine the truth of the
            8    allegations in Paragraph 34 of the Complaint, and on that basis denies the same.
            9           35.      AT&T lacks knowledge or information sufficient to determine the truth of the
           10    allegations in Paragraph 35 of the Complaint, and on that basis denies the same.
           11           36.       The allegations in Paragraph 36 of the Complaint are too vague for AT&T to form a
           12    belief as to the truth of the allegations, and, on that basis, AT&T denies them.
           13           37.      AT&T lacks knowledge or information sufficient to determine the truth of the
           14    allegations in Paragraph 37 of the Complaint, and on that basis denies the same.
           15           38.      AT&T lacks knowledge or information sufficient to determine the truth of the
           16    allegations in the first, third, and fourth sentences of Paragraph 38 of the Complaint, and on that basis
           17    denies the same. AT&T denies the remaining allegations in Paragraph 38 of the Complaint.
           18           39.      AT&T lacks knowledge or information sufficient to determine the truth of the
           19    allegations in Paragraph 39 of the Complaint, and on that basis denies the same.
           20           40.      AT&T lacks knowledge or information sufficient to determine the truth of the
           21    allegations in Paragraph 40 of the Complaint, and on that basis denies the same.
           22           41.      AT&T lacks knowledge or information sufficient to determine the truth of the
           23    allegations in the first sentence of Paragraph 41 of the Complaint, and on that basis denies the same.
           24    AT&T notes that Paragraph 41 of the Complaint purports to characterize an investigation report. To
           25    the extent such investigation report can be identified, it speaks for itself. AT&T denies the remaining
           26    allegations in Paragraph 41 of the Complaint.
           27           42.      AT&T lacks knowledge or information sufficient to determine the truth of the
           28    allegations in Paragraph 42 of the Complaint, and on that basis denies the same.

Gibson, Dunn &                                                      6
Crutcher LLP
                               DEFENDANT AT&T MOBILITY LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                CASE NO. 4:19-CV-06669 (JST)
                       Case 4:19-cv-06669-JST Document 53 Filed 06/10/20 Page 7 of 31


            1           43.     AT&T lacks knowledge or information sufficient to determine the truth of the
            2    allegations in Paragraph 43 of the Complaint, and on that basis denies the same.
            3           44.     AT&T lacks knowledge or information sufficient to determine the truth of the
            4    allegations in Paragraph 44 of the Complaint, and on that basis denies the same.
            5           45.     AT&T lacks knowledge or information sufficient to determine the truth of the
            6    allegations in Paragraph 45 of the Complaint, and on that basis denies the same.
            7    C.     Response to Allegations Styled “AT&T’s Failure to Protect Mr. Ross’s Account from
                        Unauthorized Access Violates Federal Law”
            8
                        46.     The allegations in Paragraph 46 contain legal conclusions that require no answer. To
            9
                 the extent that an answer is required, AT&T notes that the FCA and related orders and regulations
           10
                 speak for themselves, and denies any characterization or description that is inconsistent therewith.
           11
                 AT&T denies any remaining allegations in Paragraph 46 of the Complaint.
           12
                        47.     The allegations in Paragraph 47 contain legal conclusions that require no answer. To
           13
                 the extent that an answer is required, AT&T notes that the FCA speaks for itself, and denies any
           14
                 characterization or description that is inconsistent therewith. AT&T denies any remaining allegations
           15
                 in Paragraph 47 of the Complaint.
           16
                        48.     The allegations in Paragraph 48 contain legal conclusions that require no answer. To
           17
                 the extent that an answer is required, AT&T notes that the FCA speaks for itself, and denies any
           18
                 characterization or description that is inconsistent therewith. AT&T denies any remaining allegations
           19
                 in Paragraph 48 of the Complaint.
           20
                        49.     The allegations in Paragraph 49 contain legal conclusions that require no answer. To
           21
                 the extent that an answer is required, AT&T notes that the FCA speaks for itself, and denies any
           22
                 characterization or description that is inconsistent therewith. AT&T further notes that Paragraph 49
           23
                 purports to characterize an FCC order. That order speaks for itself. AT&T denies any remaining
           24
                 allegations in Paragraph 49 of the Complaint.
           25
                        50.     The allegations in Paragraph 50 contain legal conclusions that require no answer. To
           26
                 the extent that an answer is required, AT&T notes that the FCA speaks for itself, and denies any
           27
                 characterization or description that is inconsistent therewith. AT&T further notes that Paragraph 50
           28

Gibson, Dunn &                                                     7
Crutcher LLP
                               DEFENDANT AT&T MOBILITY LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                CASE NO. 4:19-CV-06669 (JST)
                       Case 4:19-cv-06669-JST Document 53 Filed 06/10/20 Page 8 of 31


            1    purports to characterize and quote from the document cited in footnote 16. That document speaks for
            2    itself. AT&T denies any remaining allegations in Paragraph 50 of the Complaint.
            3           51.      The allegations in Paragraph 51 contain legal conclusions that require no answer. To
            4    the extent that an answer is required, AT&T notes that the FCA speaks for itself, and denies any
            5    characterization or description that is inconsistent therewith. AT&T denies any remaining allegations
            6    in Paragraph 51 of the Complaint.
            7           52.      AT&T denies the allegations in Paragraph 52 of the Complaint.
            8           53.      AT&T denies the allegations in Paragraph 53 of the Complaint.
            9           54.      AT&T denies the allegations in the first sentence of Paragraph 54 of the Complaint.
           10    The allegations in the second sentence of Paragraph 54 contain legal conclusions that require no
           11    answer. To the extent that an answer is required, AT&T denies the allegations in the second sentence
           12    of Paragraph 54 of the Complaint. AT&T denies any remaining allegations of Paragraph 54 of the
           13    Complaint.
           14           55.      The allegations in Paragraph 55 contain legal conclusions that require no answer. To
           15    the extent that an answer is required, AT&T notes that the FCA and related regulations speak for
           16    themselves, and denies any characterization or description that is inconsistent therewith. AT&T further
           17    notes that Paragraph 55 purports to characterize and quote from the document cited in footnote 20.
           18    That document speaks for itself. AT&T denies any remaining allegations in Paragraph 55 of the
           19    Complaint.
           20           56.      AT&T denies the allegations in Paragraph 56 of the Complaint.
           21           57.      The allegations in Paragraph 57 contain legal conclusions that require no answer. To
           22    the extent that an answer is required, AT&T notes that Paragraph 57 purports to characterize and quote
           23    from the documents cited in footnotes 21–25. Those documents speak for themselves. AT&T denies
           24    any remaining allegations in Paragraph 57 of the Complaint.
           25           58.      The allegations in Paragraph 58 contain legal conclusions that require no answer. To
           26    the extent that an answer is required, AT&T notes that the FCA and related regulations speak for
           27    themselves, and denies any characterization or description that is inconsistent therewith. AT&T further
           28    notes that Paragraph 58 purports to characterize and quote from the FCC order cited in footnotes 26–

Gibson, Dunn &                                                     8
Crutcher LLP
                               DEFENDANT AT&T MOBILITY LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                CASE NO. 4:19-CV-06669 (JST)
                       Case 4:19-cv-06669-JST Document 53 Filed 06/10/20 Page 9 of 31


            1    28. That order speaks for itself. AT&T denies any remaining allegations in Paragraph 58 of the
            2    Complaint.
            3           59.     AT&T denies the allegations in Paragraph 59 of the Complaint.
            4           60.     The allegations in Paragraph 60 contain legal conclusions that require no answer. To
            5    the extent that an answer is required, AT&T notes that the FCA and related orders and regulations
            6    speak for themselves, and denies any characterization or description that is inconsistent therewith.
            7    AT&T denies any remaining allegations in Paragraph 60 of the Complaint.
            8           61.     AT&T denies the allegations in Paragraph 61 of the Complaint.
            9           62.     AT&T denies the allegations in Paragraph 62 of the Complaint.
           10           63.     The allegations in Paragraph 63 contain legal conclusions that require no answer. To
           11    the extent that an answer is required, AT&T notes that Paragraph 63 purports to characterize and quote
           12    from an FCC order. That order speaks for itself. AT&T denies any remaining allegations in Paragraph
           13    63 of the Complaint.
           14           64.     AT&T denies the allegations in Paragraph 64 of the Complaint.
           15           65.     The allegations in Paragraph 65 contain legal conclusions that require no answer. To
           16    the extent that an answer is required, AT&T notes that Paragraph 65 purports to characterize and quote
           17    from an FCC order. That order speaks for itself. AT&T denies any remaining allegations in Paragraph
           18    65 of the Complaint.
           19           66.     The allegations in Paragraph 66 contain legal conclusions that require no answer. To
           20    the extent that an answer is required, AT&T notes that Paragraph 66 purports to characterize and quote
           21    from an FCC order. That order speaks for itself. AT&T denies any remaining allegations in Paragraph
           22    66 of the Complaint.
           23           67.     The allegations in Paragraph 67 contain legal conclusions that require no answer. To
           24    the extent that an answer is required, AT&T notes that Paragraph 67 purports to characterize and quote
           25    from an FCC order. That order speaks for itself. AT&T denies any remaining allegations in Paragraph
           26    67 of the Complaint.
           27           68.     AT&T denies the allegations in Paragraph 68 of the Complaint.
           28

Gibson, Dunn &                                                    9
Crutcher LLP
                               DEFENDANT AT&T MOBILITY LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                CASE NO. 4:19-CV-06669 (JST)
                      Case 4:19-cv-06669-JST Document 53 Filed 06/10/20 Page 10 of 31


            1           69.      The allegations in the first sentence of Paragraph 69 contain legal conclusions that
            2    require no answer. To the extent that an answer is required, AT&T denies the allegations in the first
            3    sentence of Paragraph 69 of the Complaint. AT&T denies the remaining allegations in Paragraph 69
            4    of the Complaint.
            5           70.      The allegations in Paragraph 70 contain legal conclusions that require no answer. To
            6    the extent that an answer is required, AT&T denies the allegations in Paragraph 70 of the Complaint.
            7    D.     Response to Allegations Styled “Mr. Ross’ Harm Was Caused by AT&T’s Negligence”
            8           71.      AT&T denies the allegations in Paragraph 71 of the Complaint.
            9           72.      AT&T denies the allegations in Paragraph 72 of the Complaint.
           10           73.      AT&T denies the allegations in Paragraph 73 of the Complaint.
           11           74.      The allegations in Paragraph 74 of the Complaint are too vague for AT&T to form a
           12    belief as to the truth of the allegations and, on that basis, AT&T denies them.
           13           75.      The allegations in Paragraph 75 contain legal conclusions that require no answer. To
           14    the extent that an answer is required, AT&T notes that Paragraph 75 purports to characterize and quote
           15    from an FCC order. That order speaks for itself. AT&T denies any remaining allegations in Paragraph
           16    75 of the Complaint.
           17           76.      AT&T denies the allegations in the first sentence of Paragraph 76 of the Complaint.
           18    The allegations in the second sentence of Paragraph 76 of the Complaint are too vague for AT&T to
           19    form a belief as to the truth of the allegations and, on that basis, AT&T denies them. The remaining
           20    allegations in Paragraph 76 purport to characterize a document associated with the FTC Chief
           21    Technologist of the Federal Trade Commission, which is cited in footnotes 38–42. That document
           22    speaks for itself. AT&T denies that the document cited in footnotes 38–42 is a report from the FTC.
           23    AT&T denies any remaining allegations in Paragraph 76 of the Complaint.
           24           77.      AT&T denies the allegations in the first sentence of Paragraph 77 of the Complaint.
           25    The remaining allegations in Paragraph 77 purport to characterize a document associated with the FTC
           26    Chief Technologist of the Federal Trade Commission, which is cited in footnotes 38–42. That
           27    document speaks for itself. AT&T denies that the document cited in footnotes 38–42 is designated as
           28

Gibson, Dunn &                                                     10
Crutcher LLP
                               DEFENDANT AT&T MOBILITY LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                CASE NO. 4:19-CV-06669 (JST)
                      Case 4:19-cv-06669-JST Document 53 Filed 06/10/20 Page 11 of 31


            1    a 2017 Report from the FTC. AT&T denies any remaining allegations in Paragraph 77 of the
            2    Complaint.
            3           78.      AT&T notes that the cited article, Brian Rexroad, “Secure Your Number to Reduce
            4    SIM Swap Scams,” AT&T’s Cyber Aware (Sep. 2017), speaks for itself. AT&T denies the remaining
            5    allegations of Paragraph 78 of the Complaint.
            6           79.      AT&T denies the allegations in Paragraph 79 of the Complaint.
            7           80.      AT&T denies the allegations in the first sentence in Paragraph 80 of the Complaint.
            8    AT&T         admits        that        “AT&T       Tech         Channel,”    which      appears     at
            9    https://www.youtube.com/user/ATTTechChannel, includes multiple videos carrying the label “AT&T
           10    ThreatTraq.” Those videos speak for themselves.            AT&T denies the remaining allegations in
           11    Paragraph 80 of the Complaint.
           12           81.      AT&T notes that Paragraph 81 of the Complaint purports to quote from two videos:
           13    “Mobile       Security,”          on     YouTube        (Feb.       12,     2019),    available     at
           14    https://www.youtube.com/watch?v=KSPHS89VnX0, and “AT&T Mobile Movement Campaign —
           15    Ads,” on Vimeo, available at https://vimeo.com/224936108.              The referenced videos speak for
           16    themselves. AT&T denies any remaining allegations in Paragraph 81 of the Complaint.
           17           82.      AT&T notes that Paragraph 82 of the Complaint purports to quote from AT&T Tech
           18    Channel, “The Huntin’ and Phishin’ Episode” on YouTube (Apr. 21, 2017), available at
           19    https://www.youtube.com/watch?v=3g9cPCiFosk. That video speaks for itself. AT&T denies any
           20    remaining allegations in Paragraph 82 of the Complaint.
           21           83.      AT&T notes that the allegations in Paragraph 83 purport to characterize content of the
           22    YouTube video cited in Paragraph 82. That video speaks for itself. AT&T denies any remaining
           23    allegations in Paragraph 83 of the Complaint.
           24           84.      AT&T notes that Paragraph 84 of the Complaint purports to quote from AT&T
           25    ThreatTraq, “The Real Threat of Insider Threats” on YouTube (May 5, 2017), available at
           26    https://www.youtube.com/watch?v=ZM5tuNiVsjs. That video speaks for itself. AT&T denies the
           27    remaining allegations in Paragraph 84 of the Complaint.
           28

Gibson, Dunn &                                                      11
Crutcher LLP
                               DEFENDANT AT&T MOBILITY LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                CASE NO. 4:19-CV-06669 (JST)
                      Case 4:19-cv-06669-JST Document 53 Filed 06/10/20 Page 12 of 31


            1           85.     AT&T denies the allegations in the first sentence of Paragraph 85. AT&T notes that
            2    Paragraph 85 of the Complaint purports to quote from AT&T ThreatTraq, “The Real Threat of Insider
            3    Threats” on YouTube (May 5, 2017), available at https://www.youtube.com/watch?v=ZM5tuNiVsjs.
            4    That video speaks for itself. AT&T denies the remaining allegations in Paragraph 85 of the Complaint.
            5           86.     AT&T notes that Paragraph 86 of the Complaint purports to quote from AT&T
            6    ThreatTraq, “5/31/19 Account-hacking Forum OGusers Hacked” on YouTube (May 31, 2019),
            7    available at https://www.youtube.com/watch?time continue=234&v=cS4xV3cej3A.              That video
            8    speaks for itself. AT&T denies any remaining allegations in Paragraph 86 of the Complaint.
            9           87.     AT&T denies the allegations in Paragraph 87 of the Complaint.
           10           88.     AT&T denies the allegations in Paragraph 88 of the Complaint.
           11           89.     AT&T notes that Paragraph 89 of the Complaint purports to characterize an order from
           12    the FCC. That order speaks for itself, and AT&T denies any description or characterization that is
           13    inconsistent therewith. AT&T denies the remaining allegations in Paragraph 89 of the Complaint.
           14           90.     AT&T notes that Paragraph 90 of the Complaint quotes from, and purports to
           15    characterize, an order from the FCC. That order speaks for itself, and AT&T denies any description or
           16    characterization that is inconsistent therewith. AT&T denies any remaining allegations in Paragraph
           17    90 of the Complaint.
           18           91.     AT&T notes that Paragraph 91 of the Complaint quotes from, and purports to
           19    characterize, an order from the FCC. That order speaks for itself, and AT&T denies any description or
           20    characterization that is inconsistent therewith. AT&T denies any remaining allegations in Paragraph
           21    91 of the Complaint.
           22           92.     AT&T notes that Paragraph 92 of the Complaint quotes from, and purports to
           23    characterize, an order from the FCC. That order speaks for itself, and AT&T denies any description or
           24    characterization that is inconsistent therewith. AT&T denies any remaining allegations in Paragraph
           25    92 of the Complaint.
           26           93.     AT&T denies the allegations in Paragraph 93 of the Complaint.
           27           94.     AT&T denies the allegations in Paragraph 94 of the Complaint.
           28

Gibson, Dunn &                                                   12
Crutcher LLP
                              DEFENDANT AT&T MOBILITY LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
                                               CASE NO. 4:19-CV-06669 (JST)
                      Case 4:19-cv-06669-JST Document 53 Filed 06/10/20 Page 13 of 31


            1    E.     Response to Allegations Styled “AT&T is Liable for the Acts of its Employees”
            2           95.       AT&T denies the allegations in Paragraph 95 of the Complaint.
            3           96.       AT&T denies the allegations in Paragraph 96 of the Complaint.
            4           97.       AT&T denies the allegations in Paragraph 97 of the Complaint.
            5           98.       AT&T denies the allegations in Paragraph 98 of the Complaint.
            6           99.       The allegations in Paragraph 99 of the Complaint are too vague for AT&T to form a
            7    belief as to the truth of the allegations and, on that basis, AT&T denies them.
            8           100.      AT&T notes that Paragraph 100 of the Complaint purports to characterize an order
            9    from the FCC. That order speaks for itself, and AT&T denies any description or characterization that
           10    is inconsistent therewith. AT&T denies any remaining allegations in Paragraph 100 of the Complaint.
           11    F.     Response to Allegations Styled “AT&T’s Misrepresentations and Omissions”
           12           101.      AT&T denies the allegations in Paragraph 101 of the Complaint.
           13           102.      AT&T notes that Paragraph 102 of the Complaint purports to characterize AT&T’s
           14    Privacy Policy. AT&T’s Privacy Policy speaks for itself. AT&T denies any remaining allegations in
           15    Paragraph 102 of the Complaint.
           16           103.      AT&T notes that Paragraph 103 of the Complaint contains an excerpt from AT&T’s
           17    Privacy Policy; that Privacy Policy speaks for itself. AT&T lacks information or knowledge sufficient
           18    to form a belief about the truth of the allegation in the first sentence of Paragraph 103, and on that basis
           19    denies the same. AT&T denies any remaining allegations in Paragraph 103 of the Complaint.
           20           104.      AT&T denies the allegations in Paragraph 104 of the Complaint.
           21           105.      AT&T denies the allegations in Paragraph 105 of the Complaint.
           22           106.      AT&T denies the allegations in Paragraph 106 of the Complaint.
           23           107.      AT&T admits that Paragraph 107 purports to quote from an article appearing on the
           24    internet. That article speaks for itself. AT&T denies any remaining allegations in Paragraph 107 of
           25    the Complaint.
           26           108.      AT&T denies the allegations in the first sentence in Paragraph 108 of the Complaint.
           27    AT&T admits that Exhibit B to the Complaint is a document entitled “Regional Enforcement Allied
           28

Gibson, Dunn &                                                       13
Crutcher LLP
                               DEFENDANT AT&T MOBILITY LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                CASE NO. 4:19-CV-06669 (JST)
                      Case 4:19-cv-06669-JST Document 53 Filed 06/10/20 Page 14 of 31


            1    Computer Team Investigation Report.” The document speaks for itself. AT&T denies the remaining
            2    allegations in Paragraph 108 of the Complaint.
            3           109.    AT&T admits that Exhibit B to the Complaint is a document entitled “Regional
            4    Enforcement Allied Computer Team Investigation Report.” The document speaks for itself. AT&T
            5    denies the remaining allegations in Paragraph 109 of the Complaint.
            6           110.    AT&T denies the allegations in Paragraph 110 of the Complaint.
            7           111.    AT&T denies the allegations in Paragraph 111 of the Complaint.
            8           112.    AT&T denies the allegations in Paragraph 112 of the Complaint.
            9           113.    AT&T denies the allegations in Paragraph 113 of the Complaint.
           10           114.    AT&T notes that Paragraph 114 of the Complaint purports to quote from AT&T’s
           11    Privacy Policy; that Privacy Policy speaks for itself. AT&T denies the remaining allegations in
           12    Paragraph 114 of the Complaint.
           13           115.    AT&T denies the allegations in Paragraph 115 of the Complaint.
           14           116.    AT&T notes that Paragraph 116 of the Complaint purports to quote from AT&T’s
           15    Privacy Policy; that Privacy Policy speaks for itself. AT&T denies any remaining allegations in
           16    Paragraph 116 of the Complaint.
           17           117.    AT&T denies the allegations in Paragraph 117 of the Complaint.
           18           118.    AT&T denies the allegations in Paragraph 118 of the Complaint.
           19           119.    AT&T denies the allegations in Paragraph 119 of the Complaint.
           20           120.    AT&T denies the allegations in Paragraph 120 of the Complaint.
           21           121.    AT&T denies the allegations in Paragraph 121 of the Complaint.
           22           122.    AT&T denies the allegations in Paragraph 122 of the Complaint.
           23           123.    AT&T denies the allegations in Paragraph 123 of the Complaint.
           24                          V. Response to Allegations Styled “Claims for Relief”
           25    A.     Count I – Violations of the Federal Communications Act, 47 U.S.C. § 201 et seq.
           26           124.    AT&T repeats and incorporates by reference each and every denial, admission, and
           27    averment set forth in Paragraphs 1 through 123 above as though fully set forth herein.
           28           125.    AT&T denies the allegations in Paragraph 125 of the Complaint.

Gibson, Dunn &                                                    14
Crutcher LLP
                               DEFENDANT AT&T MOBILITY LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                CASE NO. 4:19-CV-06669 (JST)
                      Case 4:19-cv-06669-JST Document 53 Filed 06/10/20 Page 15 of 31


            1           126.      AT&T denies the allegations in Paragraph 126 of the Complaint.
            2           127.      AT&T denies the allegations in Paragraph 127 of the Complaint.
            3           128.      AT&T admits that Plaintiff purports to seek the relief described in Paragraph 128 of
            4    the Complaint. AT&T denies that Plaintiff is entitled to any relief and denies any remaining allegations
            5    in Paragraph 128 of the Complaint.
            6    B.     Count II – Violations of the California Unfair Competition Law (“UCL”) under the
                        Unlawful, Unfair and Fraudulent Prongs, California Business & Professions Code §
            7           17200 et seq.
            8           129.      AT&T repeats and incorporates by reference each and every denial, admission, and
            9    averment set forth in Paragraphs 1 through 128 above as though fully set forth herein.
           10           130.      AT&T notes that Paragraph 130 of the Complaint purports to quote from California’s
           11    Unfair Competition Law (UCL). That law speaks for itself, and AT&T denies any characterization or
           12    description that is inconsistent therewith. AT&T denies the remaining allegations in Paragraph 130 of
           13    the Complaint.
           14           131.      AT&T denies the allegations in Paragraph 131 of the Complaint.
           15           132.      AT&T denies the allegations in Paragraph 132 of the Complaint.
           16           133.      AT&T denies the allegations in Paragraph 133 of the Complaint.
           17           134.      AT&T denies the allegations in Paragraph 134 of the Complaint.
           18           135.      AT&T denies the allegations in Paragraph 135 of the Complaint.
           19           136.      AT&T denies the allegations in Paragraph 136 of the Complaint.
           20           137.      AT&T denies the allegations in Paragraph 137 of the Complaint.
           21           138.      AT&T denies the allegations in Paragraph 138 of the Complaint.
           22           139.      AT&T denies the allegations in Paragraph 139 of the Complaint.
           23           140.      AT&T notes that Paragraph 140 of the Complaint purports to characterize the FCA.
           24    The FCA speaks for itself, and AT&T denies any characterization or description that is inconsistent
           25    therewith. AT&T denies the remaining allegations in Paragraph 140 of the Complaint.
           26           141.      AT&T denies the allegations in Paragraph 141 of the Complaint.
           27           142.      AT&T denies the allegations in Paragraph 142 of the Complaint.
           28

Gibson, Dunn &                                                     15
Crutcher LLP
                               DEFENDANT AT&T MOBILITY LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                CASE NO. 4:19-CV-06669 (JST)
                      Case 4:19-cv-06669-JST Document 53 Filed 06/10/20 Page 16 of 31


            1           143.      AT&T admits that Plaintiff purports to seek the relief described in Paragraph 143 of
            2    the Complaint. AT&T denies that Plaintiff is entitled to any relief and denies any remaining allegations
            3    in Paragraph 143 of the Complaint.
            4    C.     Count III – Violations of the California Constitutional Right to Privacy
            5           144.      AT&T repeats and incorporates by reference each and every denial, admission, and
            6    averment set forth in Paragraphs 1 through 143 above as though fully set forth herein.
            7           145.      AT&T notes that Paragraph 145 of the Complaint purports to quote from the California
            8    Constitution. The California Constitution speaks for itself, and AT&T denies any characterization or
            9    description that is inconsistent therewith. AT&T denies the remaining allegations in Paragraph 145 of
           10    the Complaint.
           11           146.      AT&T denies the allegations in Paragraph 146 of the Complaint.
           12           147.      AT&T denies the allegations in Paragraph 147 of the Complaint.
           13           148.      AT&T denies the allegations in Paragraph 148 of the Complaint.
           14           149.      AT&T denies the allegations in Paragraph 149 of the Complaint.
           15           150.      AT&T denies the allegations in Paragraph 150 of the Complaint.
           16           151.      AT&T denies the allegations in Paragraph 151 of the Complaint.
           17           152.      AT&T denies the allegations in Paragraph 152 of the Complaint.
           18           153.      AT&T admits that Plaintiff purports to seek the relief described in Paragraph 153 of
           19    the Complaint. AT&T denies that Plaintiff is entitled to any relief and denies any remaining allegations
           20    in Paragraph 153 of the Complaint.
           21    D.     Count IV – Negligence
           22           154.      AT&T repeats and incorporates by reference each and every denial, admission, and
           23    averment set forth in Paragraphs 1 through 153 above as though fully set forth herein.
           24           155.      Paragraph 155 of the Complaint contains a legal conclusion to which no response is
           25    required. To the extent a response is required, AT&T denies the allegations in Paragraph 155 of the
           26    Complaint.
           27           156.      The allegations in Paragraph 156 of the Complaint are too vague for AT&T to form a
           28    belief as to the truth of the allegations and, on that basis, AT&T denies them.

Gibson, Dunn &                                                     16
Crutcher LLP
                               DEFENDANT AT&T MOBILITY LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                CASE NO. 4:19-CV-06669 (JST)
                      Case 4:19-cv-06669-JST Document 53 Filed 06/10/20 Page 17 of 31


            1           157.     Paragraph 157 of the Complaint contains a legal conclusion to which no response is
            2    required. To the extent a response is required, AT&T denies the allegations in Paragraph 157 of the
            3    Complaint.
            4           158.     Paragraph 158 of the Complaint contains a legal conclusion to which no response is
            5    required. To the extent a response is required, AT&T denies the allegations in Paragraph 158 of the
            6    Complaint.
            7           159.     Paragraph 159 of the Complaint contains a legal conclusion to which no response is
            8    required. To the extent a response is required, AT&T denies the allegations in Paragraph 159 of the
            9    Complaint.
           10           160.     AT&T denies the allegations in Paragraph 160 of the Complaint.
           11           161.     AT&T lacks information or knowledge sufficient to form a belief as to the truth of the
           12    allegations in Paragraph 161 of the Complaint, and on that basis denies them.
           13           162.     AT&T denies the allegations in Paragraph 162 of the Complaint.
           14           163.     AT&T denies the allegations in Paragraph 163 of the Complaint.
           15           164.     AT&T denies the allegations in Paragraph 164 of the Complaint.
           16           165.     AT&T denies the allegations in Paragraph 165 of the Complaint.
           17           166.     AT&T denies the allegations in Paragraph 166 of the Complaint.
           18           167.     AT&T denies the allegations in Paragraph 167 of the Complaint.
           19           168.     AT&T denies the allegations in Paragraph 168 of the Complaint.
           20           169.     AT&T denies the allegations in Paragraph 169 of the Complaint.
           21    E.     Count V – Negligent Supervision and Entrustment
           22           170.     AT&T repeats and incorporates by reference each and every denial, admission, and
           23    averment set forth in Paragraphs 1 through 169 above as though fully set forth herein.
           24           171.     AT&T admits that it conducts business activities through, among other means, its
           25    employees. The remaining allegations in Paragraph 171 of the Complaint are too vague for AT&T to
           26    form a belief as to the truth of the allegations and, on that basis, AT&T denies them.
           27           172.     AT&T denies the allegations in Paragraph 172 of the Complaint.
           28           173.     AT&T denies the allegations in Paragraph 173 of the Complaint.

Gibson, Dunn &                                                     17
Crutcher LLP
                               DEFENDANT AT&T MOBILITY LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                CASE NO. 4:19-CV-06669 (JST)
                      Case 4:19-cv-06669-JST Document 53 Filed 06/10/20 Page 18 of 31


            1           174.      AT&T denies the allegations in Paragraph 174 of the Complaint.
            2           175.      AT&T denies the allegations in Paragraph 175 of the Complaint.
            3           176.      AT&T denies the allegations in Paragraph 176 of the Complaint.
            4           177.      AT&T denies the allegations in Paragraph 177 of the Complaint.
            5           178.      AT&T denies the allegations in Paragraph 178 of the Complaint.
            6           179.      AT&T denies the allegations in Paragraph 179 of the Complaint.
            7           180.      AT&T denies the allegations in Paragraph 180 of the Complaint.
            8           181.      AT&T denies the allegations in Paragraph 181 of the Complaint.
            9           182.      AT&T denies the allegations in Paragraph 182 of the Complaint.
           10    F.     Count VI – Violations of California’s Consumers Legal Remedies Act (“CLRA”),
                        California Civil Code § 1750 et seq.
           11
                        183.      Because the Court dismissed Count VI, no response is required to Paragraph 183 of the
           12
                 Complaint. To the extent a response is required, AT&T repeats and incorporates by reference each and
           13
                 every denial, admission, and averment set forth in Paragraphs 1 through 182 above as though fully set
           14
                 forth herein.
           15
                        184.      Because the Court dismissed Count VI, no response is required to Paragraph 184 of the
           16
                 Complaint. To the extent a response is required, AT&T admits that Mr. Ross’s prior counsel sent
           17
                 letters via certified mail dated August 9, 2019, and September 13, 2019, relating to his claims. AT&T
           18
                 denies the remaining allegations in Paragraph 184 of the Complaint.
           19
                        185.      Because the Court dismissed Count VI, no response is required to Paragraph 185 of the
           20
                 Complaint. To the extent a response is required, AT&T admits that it had a customer relationship with
           21
                 Mr. Ross. AT&T lacks information or knowledge sufficient to form a belief as to the truth of the
           22
                 allegations of Paragraph 185 regarding Mr. Ross’s purposes in acquiring services from AT&T, and on
           23
                 that basis denies the same. AT&T denies the remaining allegations in Paragraph 185 of the Complaint.
           24
                        186.      Because the Court dismissed Count VI, no response is required to Paragraph 186 of the
           25
                 Complaint. To the extent a response is required, AT&T denies the allegations in Paragraph 186 of the
           26
                 Complaint.
           27

           28

Gibson, Dunn &                                                     18
Crutcher LLP
                                 DEFENDANT AT&T MOBILITY LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                  CASE NO. 4:19-CV-06669 (JST)
                      Case 4:19-cv-06669-JST Document 53 Filed 06/10/20 Page 19 of 31


            1           187.     Because the Court dismissed Count VI, no response is required to Paragraph 187 of the
            2    Complaint. To the extent a response is required, AT&T denies the allegations in Paragraph 187 of the
            3    Complaint.
            4           188.     Because the Court dismissed Count VI, no response is required to Paragraph 188 of the
            5    Complaint. To the extent a response is required, AT&T denies the allegations in Paragraph 188 of the
            6    Complaint.
            7           189.     Because the Court dismissed Count VI, no response is required to Paragraph 189 of the
            8    Complaint. To the extent a response is required, AT&T denies the allegations in Paragraph 189 of the
            9    Complaint.
           10           190.     Because the Court dismissed Count VI, no response is required to Paragraph 190 of the
           11    Complaint. To the extent a response is required, AT&T denies the allegations in Paragraph 190 of the
           12    Complaint.
           13           191.     Because the Court dismissed Count VI, no response is required to Paragraph 191 of the
           14    Complaint. To the extent a response is required, AT&T denies the allegations in Paragraph 191 of the
           15    Complaint.
           16           192.     Because the Court dismissed Count VI, no response is required to Paragraph 192 of the
           17    Complaint. To the extent a response is required, AT&T denies the allegations in Paragraph 192 of the
           18    Complaint.
           19           193.     Because the Court dismissed Count VI, no response is required to Paragraph 193 of the
           20    Complaint. To the extent a response is required, AT&T denies the allegations in Paragraph 193 of the
           21    Complaint.
           22           194.     Because the Court dismissed Count VI, no response is required to Paragraph 194 of the
           23    Complaint. To the extent a response is required, AT&T admits that Plaintiff purports to seek the relief
           24    described in Paragraph 194 of the Complaint. AT&T denies that Plaintiff is entitled to any relief
           25    whatsoever and denies any remaining allegations in Paragraph 194 of the Complaint.
           26    G.     Count VII – Violation of the Computer Fraud and Abuse Act, 18 U.S.C. § 1030
           27           195.     AT&T repeats and incorporates by reference each and every denial, admission, and
           28    averment set forth in Paragraphs 1 through 194 above as though fully set forth herein.

Gibson, Dunn &                                                    19
Crutcher LLP
                               DEFENDANT AT&T MOBILITY LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                CASE NO. 4:19-CV-06669 (JST)
                       Case 4:19-cv-06669-JST Document 53 Filed 06/10/20 Page 20 of 31


            1            196.     AT&T lacks knowledge or information sufficient to determine the truth of the
            2    allegations in Paragraph 196 of the Complaint, and on that basis denies the same.
            3            197.     AT&T denies the allegations in Paragraph 197 of the Complaint.
            4            198.     AT&T denies the allegations in Paragraph 198 of the Complaint.
            5            199.     AT&T denies the allegations in Paragraph 199 of the Complaint.
            6            200.     AT&T denies the allegations in Paragraph 200 of the Complaint.
            7            201.     AT&T denies the allegations in Paragraph 201 of the Complaint.
            8            202.     AT&T lacks knowledge or information sufficient to determine the truth of the
            9    allegations in Paragraph 202 of the Complaint, and on that basis denies the same.
           10                           VI. Response to Allegations Styled “Prayer for Relief”
           11            203.     AT&T denies that Plaintiff is entitled to any relief, legal or equitable, from AT&T or
           12    this Court, as requested in the Complaint or otherwise.
           13                       VII. Response to Allegations Styled “Demand for Jury Trial”
           14            Answering the unnumbered Demand for Jury Trial, AT&T admits that Plaintiff purports to
           15    demand a jury trial in this action of all issues so triable.
           16                             VIII. SEPARATE AND ADDITIONAL DEFENSES
           17            By alleging the Separate and Additional Defenses set forth below, AT&T does not assume any
           18    burden of proof that would otherwise rest with Plaintiff. Nor does AT&T intend any alteration of the
           19    burden of proof and/or burden of going forward with evidence that exists with respect to any of
           20    Plaintiff’s claims. Further, all such defenses are pleaded in the alternative and do not constitute an
           21    admission of liability or an admission that Plaintiff is entitled to any relief whatsoever. Finally, all
           22    defenses pleaded below are based on AT&T’s limited understanding of the claims being asserted by
           23    Plaintiff and AT&T’s limited investigation to date. AT&T reserves the right to assert additional
           24    affirmative defenses after they are ascertained.
           25

           26

           27

           28

Gibson, Dunn &                                                        20
Crutcher LLP
                                DEFENDANT AT&T MOBILITY LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                 CASE NO. 4:19-CV-06669 (JST)
                      Case 4:19-cv-06669-JST Document 53 Filed 06/10/20 Page 21 of 31


            1                            FIRST SEPARATE AND ADDITIONAL DEFENSE
            2                                           (Failure to State a Claim)
            3           The Complaint, and each purported cause of action asserted against AT&T, is barred to the
            4    extent it fails to allege facts sufficient to state a claim against AT&T.
            5                          SECOND SEPARATE AND ADDITIONAL DEFENSE
            6                                            (Statute of Limitations)
            7           The Complaint, and each purported cause of action asserted against AT&T, is barred to the
            8    extent Plaintiff is seeking relief occurring outside any applicable statutes of limitation.
            9                           THIRD SEPARATE AND ADDITIONAL DEFENSE
           10                                                   (No Breach)
           11           The Complaint, and each purported cause of action asserted against AT&T, is barred in whole
           12    or in part because AT&T did not breach any agreement.
           13                          FOURTH SEPARATE AND ADDITIONAL DEFENSE
           14                                               (Reasonable Care)
           15           The Complaint, and each purported cause of action asserted against AT&T, is barred because
           16    AT&T exercised reasonable care to prevent and correct any alleged unlawful conduct.
           17                           FIFTH SEPARATE AND ADDITIONAL DEFENSE
           18                                             (Contract Limitations)
           19           The Complaint, and each purported cause of action contained therein, is barred in whole or in
           20    part to the extent that damages or Plaintiff’s requested remedies are precluded or, alternatively, limited
           21    by the terms of the contract between AT&T and Plaintiff.
           22                           SIXTH SEPARATE AND ADDITIONAL DEFENSE
           23                                             (Proximate Causation)
           24           The harm alleged by Plaintiff, if any, was not proximately caused by any unlawful policy,
           25    custom, practice, act, omission, and/or procedure promulgated and/or tolerated by AT&T.
           26

           27

           28

Gibson, Dunn &                                                       21
Crutcher LLP
                               DEFENDANT AT&T MOBILITY LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                CASE NO. 4:19-CV-06669 (JST)
                      Case 4:19-cv-06669-JST Document 53 Filed 06/10/20 Page 22 of 31


            1                          SEVENTH SEPARATE AND ADDITIONAL DEFENSE
            2                                              (No Cause in Fact)
            3           The Complaint, and each purported cause of action asserted against AT&T, is barred because
            4    the harms alleged by Plaintiff, if any, were not caused in fact by AT&T.
            5                           EIGHTH SEPARATE AND ADDITIONAL DEFENSE
            6                                       (Lack of Proximate Causation)
            7           The Complaint, and each purported cause of action asserted against AT&T, is barred because
            8    Plaintiff has not plausibly alleged, and cannot prove, that AT&T proximately caused any of Plaintiff’s
            9    alleged injuries. The harm Plaintiff allegedly suffered, if any, was caused by superseding and
           10    intervening causes including factors, persons, or entities other than AT&T.
           11                           NINTH SEPARATE AND ADDITIONAL DEFENSE
           12                                                    (Laches)
           13           The Complaint, and each purported cause of action asserted against AT&T, is barred by the
           14    doctrine of laches.
           15                           TENTH SEPARATE AND ADDITIONAL DEFENSE
           16                                               (Unclean Hands)
           17           The Complaint, and each purported cause of action asserted against AT&T, is barred by the
           18    doctrine of unclean hands.
           19                          ELEVENTH SEPARATE AND ADDITIONAL DEFENSE
           20                                                   (Estoppel)
           21           The Complaint, and each purported cause of action asserted against AT&T, is barred to the
           22    extent Plaintiff is estopped by his own conduct from recovering any relief.
           23                          TWELFTH SEPARATE AND ADDITIONAL DEFENSE
           24                                                    (Waiver)
           25           The Complaint, and each purported cause of action asserted against AT&T, is barred to the
           26    extent Plaintiff waived or released any right to recover any relief.
           27

           28

Gibson, Dunn &                                                      22
Crutcher LLP
                               DEFENDANT AT&T MOBILITY LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                CASE NO. 4:19-CV-06669 (JST)
                      Case 4:19-cv-06669-JST Document 53 Filed 06/10/20 Page 23 of 31


            1                       THIRTEENTH SEPARATE AND ADDITIONAL DEFENSE
            2                                               (Lack of Damages)
            3           The Complaint, and each purported cause of action asserted against AT&T, is barred in whole
            4    or in part to the extent Plaintiff suffered no damages.
            5                      FOURTEENTH SEPARATE AND ADDITIONAL DEFENSE
            6                                         (Failure to Mitigate Damages)
            7           The Complaint, and each purported cause of action asserted against AT&T, is barred in whole
            8    or in part to the extent Plaintiff failed to mitigate his own damages or reasonably try to mitigate his
            9    own damages, if any.
           10                        FIFTEENTH SEPARATE AND ADDITIONAL DEFENSE
           11                                                    (Standing)
           12           The Complaint, and each purported cause of action asserted against AT&T, is barred to the
           13    extent that Plaintiff lacks standing to bring some or all of the alleged causes of action against AT&T
           14    set forth in the Complaint.
           15                        SIXTEENTH SEPARATE AND ADDITIONAL DEFENSE
           16                                              (Assumption of Risk)
           17           The Complaint, and each purported cause of action asserted against AT&T, is barred to the
           18    extent Plaintiff had actual knowledge of the risk involved with his security and investment practices
           19    and voluntarily assumed that risk.
           20                      SEVENTEENTH SEPARATE AND ADDITIONAL DEFENSE
           21                                              (Comparative Fault)
           22           The Complaint, and each purported cause of action asserted against AT&T, is barred in whole
           23    or in part by Plaintiff’s own negligence, carelessness, recklessness, or willful misconduct, or the
           24    intervening negligence, recklessness, or willful misconduct of third parties, for which AT&T is not
           25    liable. By reason thereof, Plaintiff’s damages, if any, as against AT&T, must be reduced by the
           26    proportion of fault attributable to such other parties.
           27

           28

Gibson, Dunn &                                                       23
Crutcher LLP
                               DEFENDANT AT&T MOBILITY LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                CASE NO. 4:19-CV-06669 (JST)
                      Case 4:19-cv-06669-JST Document 53 Filed 06/10/20 Page 24 of 31


            1                        EIGHTEENTH SEPARATE AND ADDITIONAL DEFENSE
            2                                            (Economic Loss Doctrine)
            3              The Complaint, and each purported cause of action asserted against AT&T, is barred in whole
            4    or in part to the extent that it is precluded or limited by the economic loss doctrine.
            5                        NINETEENTH SEPARATE AND ADDITIONAL DEFENSE
            6                                                      (Offset)
            7              The damages sought by the Complaint are barred, in whole or in part, to the extent that Plaintiff
            8    has received any credits, payments, or benefits arising out of or related to the claims asserted in the
            9    Complaint. Alternatively, Plaintiff’s recovery, if any, should be offset by any credits, payments, or
           10    benefits, of any type or character, received by Plaintiff.
           11                         TWENTIETH SEPARATE AND ADDITIONAL DEFENSE
           12                        (Failure to Exhaust Internal and/or Administrative Remedies)
           13              The Complaint, and each purported cause of action asserted against AT&T, is barred to the
           14    extent Plaintiff failed to properly exhaust all of his internal, contractual, administrative, and/or
           15    statutorily required remedies, and such failure bars this suit in whole or in part and/or limits Plaintiff’s
           16    claims.
           17                       TWENTY-FIRST SEPARATE AND ADDITIONAL DEFENSE
           18                                              (Conduct Not Willful)
           19              The Complaint, and each purported cause of action asserted against AT&T, is barred because,
           20    at all material times, AT&T and its agents acted without malice and acted reasonably and with a good
           21    faith belief in the lawfulness of their conduct based on all relevant facts and circumstances known by
           22    them at the time they so acted. The Complaint, and each purported cause of action asserted against
           23    AT&T, is further barred because Plaintiff cannot establish “willful or knowing” conduct, as required
           24    under some or all of Plaintiff’s causes of action.
           25

           26

           27

           28

Gibson, Dunn &                                                        24
Crutcher LLP
                                 DEFENDANT AT&T MOBILITY LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                  CASE NO. 4:19-CV-06669 (JST)
                      Case 4:19-cv-06669-JST Document 53 Filed 06/10/20 Page 25 of 31


            1                    TWENTY-SECOND SEPARATE AND ADDITIONAL DEFENSE
            2                                           (Accord and Satisfaction)
            3           The Complaint, and each purported cause of action asserted against AT&T, is barred by the
            4    doctrine of accord and satisfaction.
            5                     TWENTY-THIRD SEPARATE AND ADDITIONAL DEFENSE
            6                                            (Compliance with Law)
            7           The Complaint, and each purported cause of action asserted against AT&T, is barred in whole
            8    or in part, on the grounds that AT&T complied or substantially complied with all applicable laws
            9    underlying the Complaint, or took reasonable efforts to comply with all applicable laws.
           10                    TWENTY-FOURTH SEPARATE AND ADDITIONAL DEFENSE
           11                                           (Adequate Remedy at Law)
           12           The Complaint, and each purported cause of action asserted against AT&T, is barred because
           13    Plaintiff has adequate remedies at law and is not entitled to any relief with respect to any and all alleged
           14    violations of California Business & Professions Code Section 17200 et seq. that have discontinued,
           15    ceased, and are not likely to recur.
           16                      TWENTY-FIFTH SEPARATE AND ADDITIONAL DEFENSE
           17                                              (Unjust Enrichment)
           18           The Complaint, and each purported cause of action asserted against AT&T, is barred to the
           19    extent it constitutes unjust enrichment or duplicative relief of amounts seeking more than a single
           20    recovery.
           21                      TWENTY-SIXTH SEPARATE AND ADDITIONAL DEFENSE
           22                                                     (Taking)
           23           Plaintiff’s claims for restitution under California Business & Professions Code Section 17200
           24    et seq. would constitute a taking of property without just compensation in violation of the Takings
           25    Clause of the Fifth Amendment to the United States Constitution (as incorporated into the Fourteenth
           26    Amendment to the United States Constitution) and of Article I, Section 19, of the California
           27    Constitution.
           28

Gibson, Dunn &                                                       25
Crutcher LLP
                                 DEFENDANT AT&T MOBILITY LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                  CASE NO. 4:19-CV-06669 (JST)
                      Case 4:19-cv-06669-JST Document 53 Filed 06/10/20 Page 26 of 31


            1                   TWENTY-SEVENTH SEPARATE AND ADDITIONAL DEFENSE
            2                                        (Legitimate Business Purposes)
            3           Plaintiffs’ California Business & Professions Code Section 17200 et seq. claim is barred
            4    because AT&T cannot be liable for any alleged violation of the Unfair Competition Law because its
            5    actions were not unfair, fraudulent, or likely to mislead, and its conduct and dealings were lawful, as
            6    authorized by applicable state and federal statutes, rules, and regulations, and such actions, conduct,
            7    and dealings were carried out in good faith and for legitimate business purposes.
            8                    TWENTY-EIGHTH SEPARATE AND ADDITIONAL DEFENSE
            9                                      (Not Entitled to Equitable Relief)
           10           The Complaint, and each purported cause of action asserted against AT&T, is barred because
           11    Plaintiff has adequate remedies at law and will not suffer imminent and irreparable injury or harm as a
           12    result of any action or conduct by AT&T.
           13                     TWENTY-NINTH SEPARATE AND ADDITIONAL DEFENSE
           14                                            (Damages Speculative)
           15           Plaintiff is barred from relief because the Complaint, and each purported cause of action
           16    asserted therein, is barred in whole or in part because, even if Plaintiff’s allegations were true, which
           17    AT&T denies, the damages alleged by Plaintiff in the Complaint are too speculative to give rise to any
           18    of the causes of action alleged, or to permit any recovery sought, by Plaintiff in the Complaint.
           19                        THIRTIETH SEPARATE AND ADDITIONAL DEFENSE
           20                                                   (No CPNI)
           21           The Complaint, and each purported cause of action asserted against AT&T, is barred in whole
           22    or in part to the extent Plaintiff failed to identify that AT&T disclosed, or failed to safeguard, customer
           23    proprietary network information (CPNI) or any other statutorily defined confidential information.
           24                      THIRTY-FIRST SEPARATE AND ADDITIONAL DEFENSE
           25                                     (No Misrepresentation or Reliance)
           26           The Complaint, and each purported cause of action asserted against AT&T, is barred in whole
           27    or in part to the extent Plaintiff has not plausibly alleged any false or negligent misrepresentations by
           28    AT&T, or justifiable reliance by Plaintiff.

Gibson, Dunn &                                                      26
Crutcher LLP
                               DEFENDANT AT&T MOBILITY LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                CASE NO. 4:19-CV-06669 (JST)
                      Case 4:19-cv-06669-JST Document 53 Filed 06/10/20 Page 27 of 31


            1                    THIRTY-SECOND SEPARATE AND ADDITIONAL DEFENSE
            2                                                 (Ratification)
            3           The Complaint, and each purported cause of action asserted against AT&T, is barred to the
            4    extent Plaintiff ratified AT&T’s actions.
            5                     THIRTY-THIRD SEPARATE AND ADDITIONAL DEFENSE
            6                                          (Avoidable Consequences)
            7           The Complaint, and each purported cause of action asserted against AT&T, is barred pursuant
            8    to the avoidable consequences doctrine. If the avoidable consequences doctrine does not completely
            9    bar the Complaint, and each purported cause of action asserted against AT&T, then any recovery for
           10    allegedly stolen funds must be offset or reduced.
           11                    THIRTY-FOURTH SEPARATE AND ADDITIONAL DEFENSE
           12                                                   (Consent)
           13           The Complaint, and each purported cause of action asserted against AT&T, is barred to the
           14    extent Plaintiff consented to or voluntarily participated in any alleged activity or conduct.
           15                     THIRTY-FIFTH SEPARATE AND ADDITIONAL DEFENSE
           16                                 (Acting Outside the Scope of Employment)
           17           The Complaint, and each purported cause of action asserted against AT&T, is barred insofar
           18    as, if any manager, supervisor, agent, employee, or independent contractor of AT&T authorized,
           19    required, or requested that a SIM swap occur illegally, or took any other impermissible action (which
           20    AT&T denies), such manager, supervisor, agent, employee, or independent contractor acted outside
           21    the scope of his or her employment with AT&T and/or AT&T lacked sufficient authority to control the
           22    actions of such manager, supervisor, agent, employee, or independent contractor.
           23                     THIRTY-SIXTH SEPARATE AND ADDITIONAL DEFENSE
           24                                                 (Preemption)
           25           Plaintiff is barred from litigating his claims, in whole or in part, in this court to the extent that
           26    any federal legislation preempts conflicting state law.
           27

           28

Gibson, Dunn &                                                       27
Crutcher LLP
                               DEFENDANT AT&T MOBILITY LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                CASE NO. 4:19-CV-06669 (JST)
                       Case 4:19-cv-06669-JST Document 53 Filed 06/10/20 Page 28 of 31


            1                   THIRTY-SEVENTH SEPARATE AND ADDITIONAL DEFENSE
            2                                                   (Release)
            3            The Complaint, and each purported cause of action asserted against AT&T, is barred to the
            4    extent it has been released.
            5                    THIRTY-EIGHTH SEPARATE AND ADDITIONAL DEFENSE
            6                                          (No Unauthorized Access)
            7            The Plaintiff’s claim under the Computer Fraud and Abuse Act, 18 U.S.C. § 1030, is barred
            8    because AT&T did not access any computer without authorization or exceed authorized access to any
            9    computer.
           10                     THIRTY-NINTH SEPARATE AND ADDITIONAL DEFENSE
           11                                             (No Attorneys’ Fees)
           12            Plaintiff’s request for attorneys’ fees is barred because the Complaint fails to allege facts
           13    sufficient to support an award of attorneys’ fees.
           14                        FORTIETH SEPARATE AND ADDITIONAL DEFENSE
           15                                            (No Punitive Damages)
           16            Plaintiff is barred from relief because the Complaint, and each purported cause of action against
           17    AT&T, fails to allege facts sufficient to allow recovery of punitive or exemplary damages from AT&T.
           18    Punitive damages are also barred to the extent they are unconstitutional.
           19                      FORTY-FIRST SEPARATE AND ADDITIONAL DEFENSE
           20                                    (No Punitive Damages - Due Process)
           21            The imposition of punitive damages in this case would violate the Due Process Clause of the
           22    Fifth and Fourteenth Amendments to the United States Constitution because, as applied to this case,
           23    the standards of liability for punitive damages in California are unduly vague and subjective, and permit
           24    retroactive, random, arbitrary, and capricious punishment that serves no legitimate governmental
           25    interest.
           26

           27

           28

Gibson, Dunn &                                                        28
Crutcher LLP
                               DEFENDANT AT&T MOBILITY LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                CASE NO. 4:19-CV-06669 (JST)
                      Case 4:19-cv-06669-JST Document 53 Filed 06/10/20 Page 29 of 31


            1                    FORTY-SECOND SEPARATE AND ADDITIONAL DEFENSE
            2                                   (No Punitive Damages - Due Process)
            3           The imposition of punitive damages in this case would violate the Due Process Clause of the
            4    Fifth and Fourteenth Amendments to the United States Constitution because, as applied to this case,
            5    the California standards for determining the amount of the award are unduly vague and subjective, lack
            6    sufficient procedural safeguards, and permit arbitrary, capricious, excessive, and disproportionate
            7    punishment that serves no legitimate governmental interest.
            8                     FORTY-THIRD SEPARATE AND ADDITIONAL DEFENSE
            9                                  (No Punitive and Exemplary Damages)
           10           The penalties, fines, and punitive and exemplary damages sought are unconstitutional and
           11    excessive under California law and the United States Constitution, including without limitation under
           12    the Excessive Fines Clause of the Eighth Amendment of the United States Constitution, and the Due
           13    Process Clauses of the Fifth and Fourteenth Amendments of the United States Constitution.
           14                    FORTY-FOURTH SEPARATE AND ADDITIONAL DEFENSE
           15                                   (No Punitive Damages - Due Process)
           16           The imposition of punitive damages in this case would violate the Due Process Clause of the
           17    Fifth and Fourteenth Amendments to the United States Constitution because California post-verdict
           18    standards for scrutinizing punitive damage verdicts do not provide a meaningful constraint on the
           19    discretion of juries to impose punishment.
           20                     FORTY-FIFTH SEPARATE AND ADDITIONAL DEFENSE
           21                                   (No Punitive Damages - Due Process)
           22           The imposition of punitive damages in this case based on the out-of-state conduct, profits,
           23    aggregate wealth or financial status of AT&T would violate the Commerce Clause, the Due Process
           24    clause of the Fifth Amendment to the United States Constitution, and the Equal Protection and Due
           25    Process Clauses of the Fourteenth Amendment to the United States Constitution.
           26

           27

           28

Gibson, Dunn &                                                    29
Crutcher LLP
                               DEFENDANT AT&T MOBILITY LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                CASE NO. 4:19-CV-06669 (JST)
                      Case 4:19-cv-06669-JST Document 53 Filed 06/10/20 Page 30 of 31


            1                     FORTY-SIXTH SEPARATE AND ADDITIONAL DEFENSE
            2                                   (No Punitive Damages - Due Process)
            3           The imposition of punitive damages in this case in the absence of a showing of malicious intent
            4    to cause harm to Plaintiff would violate the Due Process Clause of the Fifth and Fourteenth
            5    Amendments to the United States Constitution.
            6                                       RESERVATION OF RIGHTS
            7           AT&T has insufficient knowledge or information upon which to form a basis as to whether it
            8    may have additional, as yet unstated, separate defenses available. AT&T has not knowingly or
            9    intentionally waived any applicable affirmative defenses and reserves the right to raise additional
           10    affirmative defenses as they become known to it through discovery in this matter. AT&T further
           11    reserves the right to amend its answer and/or affirmative defenses accordingly and/or to delete
           12    affirmative defenses that it determines are not applicable during the course of subsequent discovery.
           13                                          PRAYER FOR RELIEF
           14           WHEREFORE, AT&T prays for judgment as follows:
           15           1.      That Plaintiff take nothing by the Complaint;
           16           2.      That the Complaint be dismissed in its entirety and with prejudice;
           17           3.      For judgment to be entered favor of AT&T and against Plaintiff on all claims
           18           contained in the Complaint;
           19           4.      For costs of suit herein and attorneys’ fees as permitted by law; and
           20           5.      For such other and further relief as the Court may deem proper and just.
           21

           22

           23

           24

           25

           26

           27

           28

Gibson, Dunn &                                                     30
Crutcher LLP
                               DEFENDANT AT&T MOBILITY LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                CASE NO. 4:19-CV-06669 (JST)
                        Case 4:19-cv-06669-JST Document 53 Filed 06/10/20 Page 31 of 31


            1    Dated: June 10, 2020
            2                                           MARCELLUS MCRAE
                                                        ASHLEY E. JOHNSON
            3                                           GIBSON, DUNN & CRUTCHER LLP
            4

            5                                           By: /s/ Ashley E. Johnson
                                                            Marcellus McRae
            6                                               Ashley E. Johnson
            7                                           Attorneys for Defendant AT&T MOBILITY, LLC
            8
                 103944730.9
            9

           10

           11

           12

           13

           14

           15

           16

           17

           18

           19

           20

           21

           22

           23

           24

           25

           26

           27

           28

Gibson, Dunn &                                              31
Crutcher LLP
                               DEFENDANT AT&T MOBILITY LLC’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                CASE NO. 4:19-CV-06669 (JST)
